Case 8:10-cv-00018-JVS-VBK Document 102 Filed 10/05/11 Page 1 of 2 Page ID #:1859




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        Receiver for Cherokee Gas Systems, Inc.
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    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11                                               Case No.: SACV 10-0018 JVS (ANx)
        SECURITIES AND EXCHANGE
   12
        COMMISSION,
                                                    ORDER RE DEFENDANT LABRY’S
                    Plaintiff,                      MOTION TO REMOVE RECEIVER
   13                                               AND RECEIVER’S MOTION FOR
              v.                                    PAYMENT OF FEES AND COSTS
   14

   15   THOMAS A. LABRY and
        CHEROKEE GAS SYSTEMS, INC.,
   16
                    Defendants.
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   20         The Court has considered Defendant Labry’s Motion to Remove Receiver
   21   and Appoint a New Receiver and the Receiver’s Opposition thereto, and the
   22   Receiver’s Final Report and Memorandum in Support of Motion to (1) Approve a
   23   Final Report and Accounting; (2) Approve a Pro Rata Distribution of Assets to
   24   Investors; (3) Authorize the Abandonment and Destruction of Documents and
   25   Records; (4) Relieve the Receiver from Further Duties and Liabilities; and (5)
   26   Approve the Receiver’s request for payment of fees and disbursements. The Court
   27   hereby DENIES Defendant Labry’s Motion to Remove the Receiver and
   28   GRANTS the Receiver’s Motion for approval, as follows:


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                      ORDER RE RECEIVER’S MOTION FOR PAYMENT OF FEES AND COSTS
Case 8:10-cv-00018-JVS-VBK Document 102 Filed 10/05/11 Page 2 of 2 Page ID #:1860




    1         (a) The Court denies Defendant Labry’s Motion to Remove the Receiver for
    2            the reasons set forth in its tentative order of September 30, 2011;
    3         (b) The Court approves the Receiver’s Final Report and Accounting;
    4         (c) The Court approves the Receiver’s recommendation for a pro rata
    5            distribution of remaining estate assets to investors;
    6         (d) The Court authorizes the Receiver to destroy any and all records after
    7            providing the SEC with 120 days notice;
    8         (e) The Court authorizes the Receiver to dispose of the Remington sculpture
    9            and assorted computer equipment as set forth in this Final Report;
   10         (f) The Court hereby relieves the Receiver from any further duties and
   11            liabilities after the distribution referred to in ( c) above;
   12         (g) The fees and expenses described in the Receiver’s Motion in the amount
   13            of $8,797.13 are approved and the Receiver is authorized to pay those
   14            fees and expenses from the assets of the receivership estate; and
   15
              (h) The Receiver shall also be permitted to pay his expenses and costs
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                 associated with his opposition to Defendant Labry’s Motion to Remove

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                 the Receiver in the amount of $ 4,500.

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        Dated: October 05, 2011          _____________________________
   21                                         The Honorable James V. Selna
   22                                         United States District Court Judge
   23   DATED: October 5, 2011
   24   COTTON & GUNDZIK LLP
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   26
        __________/s/______________

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         John W. Cotton
        Receiver for Cherokee Gas Systems, Inc.
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                     ORDER RE RECEIVER’S MOTION FOR PAYMENT OF FEES AND COSTS
